Case 1:17-cv-01953-RDM Document 5-88 Filed 09/25/17 Page 1 of 3




Exhibit 85
          Case 1:17-cv-01953-RDM Document 5-88 Filed 09/25/17 Page 2 of 3



From:
Date: July 18, 2017 at 8:06:52 AM CDT
To: "                                                 >, ext-Jamie_handley_atlasair_com
<Jamie.handley@atlasair.com>, "Agnini, Chris" <Chris.Agnini@PolarAirCargo.com>, John Dietrich
<John.Dietrich@Atlasair.com>
Cc: "jeff.carlson@atlasair.com" <jeff.carlson@atlasair.com>
Subject: RE: Flight Crew Catering Refusal - Aircraft out of service

John,

I would like to add these continued crew issues to our discussion this afternoon, not only did we have
the issue below with crew member refusing meals which then caused the aircraft to remain in         ,
another FSF for       material, but also caused increased costs to     whereby we had to charter
another aircraft to operate the Network at an additional cost of $30K to      .

Also two other major crew issues last night and this morning:

Flt   -Captain sick, (                  ) which caused another 10 hour delay and again another FSF
Flt             52 minute delay, late crew member we do not have any specific in regards to the
reason

The issues with flight crews continue to increase, when is Atlas planning to take the next steps in regards
to flight crews?

Regards




From:
Sent: Tuesday, July 18, 2017 6:48 AM
To: ext-Jamie_handley_atlasair_com; Agnini, Chris
Cc:                         ; jeff.carlson@atlasair.com
Subject: Flight Crew Catering Refusal - Aircraft out of service

Jamie and Chris,
Case 1:17-cv-01953-RDM Document 5-88 Filed 09/25/17 Page 3 of 3
